Case 1:21-cv-00703-AMD-LB
       unTTED             Document 16 Filed 07/20/23 Page 1 of 6 PageID #: 1563
                   OiaTPyti.^ of »-1EvvA
         \-oftSbi2G

                                                      hJ<gric_L~ aP >ig)T^q>4
                                    Ir/Woo^
                                                       t -. O \- 0>/-- r>OL~l3-^fflD- V6

                                                                  Co *^4
       j)utolt4rEDEfcJT_Q^
                       /




              ^lg43b T^Ug Kf^tCjb / yVv4V
       p ypcL A^ikA-jl\rj^^tCnoAzicsn cF l^orgjO^Zo
                             orD_^b2>_Ojr__v4F&r^^
             Jf_.Ij ./ z.0_2^3y__^Q ^I L_ pfoCefid i:OS
     .preN'ic.M6|\^_.b2^U __jn2.re-^-0.^__pe-(:vt'tooe,t^ uort
                                                nQ

                                                              )Au6-£i~

                                _UL2^1/„ QQJtK^
                         (lo.uo^l CAn b^_ Vj-es4r4_^
            „^4d ordEcL^-. pMrSu^n^t--.^         Cs']
       JjCnl_Ac)dJA_C^5- - of .bm__fic!er^I
            V1/( Pp>cC£cI    aj(:;.^.Q    _ <A fpox .
             Coi-xoS^ iHC^rtkr"        lg,\rrp.^
      rpmpUlAb pygS^I^ C ipQO iJrvfe
                              t^iDO P«-4-rfSLj>4rv4- „br<5 __
        Case 1:21-cv-00703-AMD-LB Document 16 Filed 07/20/23 Page 2 of 6 PageID #: 1564
    a




             j l APerpn CH'^^n

                               ^ O^j tV'2}2-

              T^.ll 3^1-^SS-^^13
              € i^yyv IT \ ox~^orZg> >^^'>vt                   Yyv^\\ -




V
       (jn\TED
Case 1:21-cv-00703-AMD-LB                    (L<scj^py
                          Document 16 Filed 07/20/23 Page 3 of 6 PageID #: 1565
          £-is>thp,w Dit6Tp.»croP^
            Laf^6^r■2xD M^(5rP5i'frpr
                                                   5e.ki^l0f>e^
                   rL-^3MV^
                                                                                      ^^F-] Pst^Ti^/O
       ^u Pe f^i till PgiOT                                 One                   1              - c-vy-^q-73-
                                                                                                         te
                                                   P^ej3.prv^e./v4 ■
          ■^iXTg                                         i^PyVS ^
          P.qljkTT^I /^^^

            l--<a(r^<^"Z.^ rO^^riP/-^ V>g--in53^                                                            "r^wNQrO
                                                              "T.           rr^V^ rthe.                                -
      ir^j_                                                                                     pe^'T^ury
            \ ^re.■/^?r^ PP^C-rrcPi^^ ^_ro_4lW pe.Fvk!Cimr~
              ■       c-i—'-»—>■*                    ^    5srf_l_J=;_: J. ---Y                       ^   ip^'—-*_r,
      V
       io> FU ^lr^\re
               T+—' 1 A
                                        .^cAi^O ^ A:oA
                                  A V*.^ «K V •-                    ^ — 1 r>, J       A /^ -1— V A                vA

          :^cVrc ilkt
      r^-Sc^cvrci / iNj rOOsre
                        .    - 4:Vt    Cc>(^\r ,
       1       _<dirD-_QrAgi:^
                Ar^ r\r<^e<- 9  Qr^Qt^cgl_._^ ppQif
                                  rArJkiC^-.^ sp po iot._z.
      r^^oAr                 Oi^ CoC:v<'-da,\
       ^ ^Sl>ig C^Pi /^'(a v^cis ( -tp^O _Ll
                                         4ll^. ' voil:>4
                                                         \o 4KvP dcsu^cA-
           -fFZr VSScjre.^ peFF^ArmiT ^>a£^Fvf) ba
          r^/^n'rV\\\ cLAr€. C<v4>^-f(                                 laPOQ                             C
                        ID
               LKi:_Jje^r)Qi-K'fe^_p&kvi|cpPeXl-_/X^
                                      \                         Fn . -j^i 5 rp ur^
                              A4e,
Case 1:21-cv-00703-AMD-LB Document 16 Filed 07/20/23 Page 4 of 6 PageID #: 1566



                                                              y^Oeir-toO—
       ^■g_QpPiOi rAb>^ fer^ LsOr-flr Cr^ W>4'b64'=b,
               ( ~
                                CcxMr^l-               ^ cAi^<rn
                                          , _peV:^Uc3^r
     \At.jS^ ^                            ^p£Aiiir_assO.£jcr
       Dnc-CS ojis/er'                                 y. oM-ccc, i:;D_
                               ^A.             ^ ,S rP nf.Cor-e


      L»^dib-u^                                ^ ^ lO^ \\ ^

       \£>^                 4n4. prppe
                                                                        ,e

      -pepAi-uCV                                              iOl^—.1±5 irr^-
      jAr^ d^rr-ecV-                       A           f? _ '^>€r:v^ci OT)
        "B-^ ^ilo c^i oi^>_
                                   GriC, C-^r-rrfZ^ B .'7„
                                Qig^ncV ^MBsriOA^- f
                                _>Si/^:b_„C-OCAirV^p_^
                                2>50 .V4Y ^r<-^-lr
                                 &09g' WVyvs ^ T->'^ U 'Z Q (
Case 1:21-cv-00703-AMD-LB Document 16 Filed 07/20/23 Page 5 of 6 PageID #: 1567




     X<5'"e_o,Tj^ 'TO^                   R-^ ^
      4J-S"                           3.
      0irc«s^lyin-1 OH                   V?n
    hsl'.
    £jry> 1 • lbre^Z£^>(y)^6-r                        ^nrv}/^ > CCry^n
Mr- WeoZo                                      YORK

  H 55 &U1v.                       xS JUl 2023




                     ClEP)^ D?
                       Co^T^ MjsU-ro
/4fc Pfc.                  22,^ CaDa
                                 ^roohip^


                                                                                                          . /.
                                                                                                      t ■ , ..♦

               i iSOi-iS3.2'S9     //|///»///i////;//i//;/,///i/l,///„^/,//],////;//,,//i,.//;/////
                                                                                                        1:21-cv-00703-AMD-LB Document 16 Filed 07/20/23 Page 6 of 6 PageID #:
